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                                         U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                   June 5, 2019

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       The Government writes, with the consent of defense counsel, to respectfully request the
entry of the attached proposed protective order governing the disclosure of information in
discovery. Entry of the proposed protective order will enable the Government to promptly
commence the rolling production of discovery and other disclosure material contemplated by the
Court’s May 29, 2019 scheduling order (Dkt. 11).

       We thank you for your consideration of this request.

                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            Attorney for the United States
                                            Acting Under Authority Conferred by
                                            28 U.S.C. § 515

                                        by: /s/ Paul M. Monteleoni
                                            Paul M. Monteleoni
                                            Douglas S. Zolkind
                                            Benet J. Kearney
                                            Assistant United States Attorneys
                                            (212) 637-2219/2415/2260
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                         Protective Order

                 v.                                                               19 Cr. 366 (LGS)

 Stephen M. Calk,

                            Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

       Disclosure Material.       The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include

material that (i) affects the privacy, confidentiality and business interests of individuals and

entities; (ii) would impede, if prematurely disclosed, the Government’s ongoing investigations;

(iii) would risk prejudicial pretrial publicity if publicly disseminated; and (iv) is not authorized to

be disclosed to the public or disclosed beyond that which is necessary for the defense of this

criminal case.

       Facilitation of Discovery. The entry of a protective order in this case will permit the

Government to produce expeditiously the disclosure material without further litigation or the need
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for excessive redaction. It will also afford the defense prompt access to those materials, which

will facilitate the preparation of the defense.

           Good Cause. There is good cause for entry of the protective order set forth herein.

       Accordingly it is hereby Ordered:

           1. Disclosure material shall not be disclosed by the defendant or defense counsel,

including any successor counsel and any paralegals, associates, or other employees of defense

counsel (collectively, “the Defense”) other than as set forth herein, and shall be used by the

Defense solely for purposes of defending this action. The Defense shall not post any disclosure

material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

           2. Disclosure material may be disclosed by the Defense to:

           (a) Personnel for whose conduct defense counsel is responsible, i.e., personnel

employed by or retained by counsel, as needed for purposes of defending this action;

           (b) Prospective witnesses for purposes of defending this action.

           3. The Government may authorize, in writing, disclosure of disclosure material

beyond that otherwise permitted by this Order without further Order of this Court.

           4. The Government may designate certain disclosure material as Highly Confidential

in writing, either by marking the disclosure material itself or by means of a separate index or other

written designation. Highly Confidential material is subject to the provisions of the Order



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governing disclosure material, except that the filing of Highly Confidential material is governed

by paragraph 6 of this Order rather than paragraph 5.

            5. This Order does not prevent the disclosure of any disclosure material other than

Highly Confidential material in any hearing or trial held in this action, or to any judge or magistrate

judge, for purposes of this action. All filings should comply with the privacy protection provisions

of Fed. R. Crim. P. 49.1.

            6. This Order does not prevent the disclosure of any Highly Confidential material in

any hearing or trial held in this action, or to any judge or magistrate judge, for purposes of this

action, except that either party seeking to publicly file, or specifically describe in a public filing,

Highly Confidential material, must either (a) file the document under seal, or (b) provide

reasonable notice to the opposing party to permit the parties to confer on the proper treatment of

the document. If the parties are unable to reach agreement as to the treatment of the document,

the parties will seek Court resolution before the document is publicly filed or specifically described

in a public filing.

            7. Any disputes regarding the designation of discovery material as Highly

Confidential, or any other dispute concerning this Order, which cannot be resolved among the

parties, will be brought to the Court for a ruling before any public disclosure not permitted by this

Order is made.

                                Return or Destruction of Material
            8. Except for disclosure material that has been made part of the record of this case,

the Defense shall return to the Government or securely destroy or delete all disclosure material

within 30 days of the expiration of the period for direct appeal from any verdict in the above-
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captioned case; the period of direct appeal from any order dismissing any of the charges in the

above-captioned case; or the granting of any motion made on behalf of the Government dismissing

any charges in the above-captioned case, whichever date is later. This provision does not apply to

any disclosure material that belongs to the defendant or that contains or constitutes defense

counsel’s work product.

           9. The Defense shall provide a copy of this Order to persons specified in paragraph 2,

including prospective witnesses and persons retained by counsel, to whom the Defense has

disclosed disclosure material. All such persons shall be subject to the terms of this Order. Defense

counsel shall maintain a record of what information has been disclosed to which such persons and

make reasonable efforts to ensure that each such person complies with the terms of this Order.




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